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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                   IN THE UNITED STATES DISTRICT COURT                 October 02, 2020
                   FOR THE SOUTHERN DISTRICT OF TEXAS                 David J. Bradley, Clerk
                            HOUSTON DIVISION



UTEX INDUSTRIES, INC.,                  §
                                        §
                   Plaintiff,           §
                                        §
v.                                      §         CIVIL ACTION NO. H-18-1254
                                        §
TROY WIEGAND and GARDNER                §
DENVER, INC.,                           §
                                        §
                   Defendants.          §



                                     ORDER


       Pending before the court is Defendants Troy Wiegand and

Gardner Denver, Inc.'s Memorandum of Law in Support of Defendants'

Motion to Bifurcate ("Motion to Bifurcate") (Docket Entry No. 179).

Plaintiff Utex Industries,         Inc. has filed Utex's Opposition to

Defendants' Motion to Bifurcate Issues Bearing on Punitive and

Exemplary Damages (Docket Entry No. 181), and defendants have filed

Defendants' Reply Memorandum of Law in Support of Defendants'

Motion to Bifurcate (Docket Entry No. 182).              Defendants seek to

"bifurcate the trial into two phases:             (1) a first [phase] where

the jury will hear and decide issues bearing only on liability and

compensatory damages; and         (2) a second phase,      if still needed,

where the same jury will hear and decide issues bearing on punitive

and    exemplary    damages."      (Motion   to    Bifurcate,   Docket      Entry

No. 179, p. 6)      Defendants' proposed order requests that
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        [T]he court . . . conduct a bifurcated trial. The first
       portion of the trial will cover liability and
       compensatory damages.    Issues bearing on punitive and
       exemplary damages, including on Utex's claims regarding
       willful infringement and willful and malicious trade
       secret misappropriation shall be tried before the same
       jury immediately following the first phase of trial, if
       necessary.
[Proposed] Order Granting Defendants' Motion to Bifurcate Issues
Bearing on Punitive and Exemplary Damages, Exhibit 1-2 to Motion to
Bifurcate, Docket Entry No. 179-12, p. 2.
       A district court has discretion to order separate trials of
one    or   more    claims        or    issues       "[f]or    convenience,          to   avoid
prejudice, or to expedite and economize."                          Fed. R. Civ. P. 42(b).
The Fifth Circuit has cautioned that for bifurcation to be
appropriate,       the     "issue to be tried                 [separately]     must be so
distinct and separable from the others that a trial of it alone may
be had without injustice."               Swofford v. B         &   W. Inc., 336 F.2d 406,
415    (5th   Cir.       1964),        cert.   denied,        85    S.   Ct.   653    (1965).
Separation of issues for separate trials is not the usual course
that should be followed.                 McDaniel v. Anheuser-Busch. Inc., 987
F.2d 298, 304 (5th Cir. 1993).                       The burden falls on the party
seeking separate trials to prove that separation is necessary.
Crompton Greaves. Ltd. v. Shippers Stevedoring Co., 776 F. Supp. 2d
375, 402 (S.D. Tex. 2011).
       Having carefully considered the parties' arguments, the court
concludes that the defendants' only persuasive argument for a
separate trial is the prejudice defendants could suffer if the jury

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were allowed to hear evidence and arguments about defendants' net
worth during the trial to determine liability and actual damages.
That prejudice could be avoided by allowing a separate trial on the
amount of punitive damages to be awarded.               The court is not
persuaded by defendants' arguments for a separate trial on other

issues.    Evidence related to willfulness is not "distinct and

separable" from evidence related to infringement.           Instead, there
appears to be a substantial overlap of evidence related to these
issues.   Having a separate trial on willfulness or other issues
related   to   defendants'    liability    for   punitive   damages    could
lengthen the trial instead of expediting it and would not promote
convenience for the court, the jury, or the parties since the court
and jury would likely have to hear some of the same evidence twice
if there were two trials.       Any potential juror confusion on the
different burdens of proof required to establish infringement and
willful infringement can be eliminated by the court's instructions
on plaintiff's burdens of proof and by the argument of counsel.
      Defendants' Memorandum of Law in Support of Defendants'

Motion to Bifurcate (Docket Entry No. 179) is GRANTED IN PART and

DENIED IN PART.   The trial will address all issues of liability and

actual damages, including willful infringement and malicious trade
secret misappropriation.      If plaintiff obtains a favorable verdict
on an issue that entitles it to recover punitive damages,                   the
parties may then present evidence and arguments to the same jury
about the amount of punitive damages to be awarded.

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     Docket Call will be held on December 11, 2020, at 2:00 p.m. in

Courtroom   9-B,   9th Floor,   United States Courthouse,         515 Rusk

Street, Houston, Texas 77002.       Information about docket call is

available in the Court Procedures.

     SIGNED at Houston, Texas, on this 2nd day of October, 2020.




                                               SIM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE




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